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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

ROSS THOMAS BRANTLEY, III,                         §
               Petitioner,                         §
                                                   §
v.                                                 §   CIVIL CASE NO. 3:21-CV-1968-D
                                                   §
DIRECTOR, TDCJ-CID,                                §
                Respondent.                        §

                                               ORDER

          The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case. No objections were filed. The court reviewed the proposed findings, conclusions, and

recommendation for plain error. Finding none, the court adopts the findings, conclusions, and

recommendation of the United States Magistrate Judge. Accordingly, petitioner’s Rule 60(b)

motion, construed as seeking relief under 28 U.S.C. § 2254, is dismissed without prejudice for lack

of jurisdiction.

          Considering the record in this case and pursuant to Fed. R. App. P. 22(b), Rule 11(a) of the

Rules Governing §§ 2254 and 2255 proceedings, and 28 U.S.C. § 2253(c), the court denies a

certificate of appealability. The court adopts and incorporates by reference the magistrate judge’s

findings, conclusions, and recommendation filed in this case in support of its finding that the

petitioner has failed to show (1) that reasonable jurists would find this court’s “assessment of the

constitutional claims debatable or wrong,” or (2) that reasonable jurists would find “it debatable

whether the petition states a valid claim of the denial of a constitutional right” and “debatable

whether [this court] was correct in its procedural ruling.” Slack v. McDaniel, 529 U.S.473, 484

(2000).
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   If petitioner files a notice of appeal,

   ( )     petitioner may proceed in forma pauperis on appeal.

   (X)     petitioner must pay the $505.00 appellate filing fee or submit a motion to proceed in

           forma pauperis.

   SO ORDERED.

   October 28, 2021.


                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             SENIOR JUDGE




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